                     IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF ALASKA AT ANCHORAGE

                                         )
 DAVID HAMMOND,                          )
                                         )          ORDER GRANTING
                      Plaintiff,         )          STIPULATION FOR
        v.                               )      DISMISSAL WITH PREJUDICE
                                         )
 THE HOME DEPOT #1304,                   )
                                         )
                  Defendant.             )   Case No. 3:19-cv-00022-TMB
 ______________________________          )


        HAVING reviewed the parties’ Stipulation for Dismissal with Prejudice;

        IT IS HEREBY GRANTED. All claims brought or that could have been brought

in this case, are now dismissed with prejudice, with each party to bear their own costs &

fees.




        June 6, 2019
Dated:___________________                  s/TIMOTHY M. BURGESS
                                         ___________________________________
                                         Timothy M. Burgess
                                         United States District Judge



  Case 3:19-cv-00022-TMB Document 12 Filed 06/06/19 Page 1 of 1
